Case 1:13-bk-12328   Doc 54   Filed 09/28/18 Entered 09/28/18 09:33:28   Desc Main
                              Document     Page 1 of 2


                      UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF RHODE ISLAND

In re:

            CORY R. JENGO                               BK- 13-12328
                 Debtor(s)                              CHAPTER 13

                       NOTICE OF FINAL CURE PAYMENT

     Pursuant to Federal Bankruptcy Rule 3002.1(f), the Trustee
files Notice that the amount required to cure the default for the
below claim has been paid in full and that the Debtor(s) have
completed all payments under the plan.

Name of Creditor: SN Servicing Corporation
Trustee Claim #: 3
Last 4 digits of any number used to identify
  the Debtor’s account: 8329

Final Cure Amount:

      Amount of Allowed Pre-petition Arrearage: $52,269.85
      Amount Paid by Trustee:                   $52,269.85

Monthly Ongoing Mortgage Payment is Paid:

      __ Through the Chapter 13 Trustee conduit
      X Directly by the Debtor

     Within 21 days of the service of this Notice, the creditor
must file and serve same on the Debtor(s), Debtor’s counsel and
the Trustee, pursuant to Federal Bankruptcy Rule 3002.1(g), a
Statement indicating whether it agrees that the Debtor has paid
in full the amount required to cure the default and whether,
consistent with Bankruptcy Code §1322(b)(5), the Debtor is
otherwise current on all the payments or be subject to further
action of the Court including possible sanctions.

Dated: September 28, 2018             Respectfully submitted,



                                      /s/John Boyajian
                                      John Boyajian, Trustee
                                      400 Westminster St. Box 12
                                      Providence, RI 02903
                                      Tel:(401) 223-5550
                                      Fax:(401) 223-5548
Case 1:13-bk-12328   Doc 54   Filed 09/28/18 Entered 09/28/18 09:33:28   Desc Main
                              Document     Page 2 of 2




                                 CERTIFICATION

          I hereby certify that a copy of the within Notice was
mailed, postage prepaid, to:

Mr. Cory R. Jengo
39 Flethcher Street
Warwick, RI 02889

SN Servicing Corporation
323 5th Street
Eureka, CA 95501

and electronically mailed to:

Janet J. Goldman, Esq. at jgoldmanlawri@jggoldman.com

Amy Magher, Esq. at amagher@masatlaw.com

on September 28, 2018.



                                      /s/ Alicia Dias
